            Case 18-40390-KKS   Doc 35   Filed 11/14/18   Page 1 of 7



                UNITED STATES BANKRUPTCY COURT
                 NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION


IN RE:                                     CASE NO 18-40390-KKS
                                           Chapter: 7
RANALLO, BRIAN WALTER
RANALLO, MARY CYNTHIA,

         DEBTOR(S).
_____________________________/

      NOTICE OF INTENT TO SELL PROPERTY OF THE ESTATE

TO: Debtor(s), Creditors, and Parties in Interest

                    NOTICE OF OPPORTUNITY TO
                 OBJECT AND REQUEST FOR HEARING

       Pursuant to Local Rule 2002-2, the Court will consider the relief
requested in this paper without further notice or hearing unless a party in
interest files a response within twenty-one (21) days from the date set forth
on the proof of service plus an additional three days for service if any party
was served by U.S. Mail, or such other period as may be specified in Fed. R.
Bankr.P. 9006(f).
       If you object to the relief requested in this paper, you must file an
objection or response electronically with the Clerk of the Court or by mail at
110 E. Park Avenue, Suite 100, Tallahassee, FL 32301, and serve a copy
on the Trustee, Mary W. Colón, Trustee, P. O. Box 14596, Tallahassee, FL
32317, and any other appropriate person within the time allowed. If you file
and serve a response within the time permitted, the Court will either
schedule and notify you of a hearing or consider the response and grant or
deny the relief requested without a hearing.
       If you do not file a response within the time permitted, the Court will
consider that you do not oppose the relief request in the paper, will proceed
to consider the paper without further notice or hearing, and may grant the
relief requested.

                                  Page 1 of 3
            Case 18-40390-KKS    Doc 35   Filed 11/14/18    Page 2 of 7



NOTICE IS HEREBY GIVEN that the trustee/debtor-in-possession intends
to sell the following property of the estate of the debtor(s), under the terms
and conditions set forth below.

1. Description of property:
     Equity interest in electronics ($195); jewelry ($450); cat and dog
     ($20); bank accounts ($227).

2. Manner of Sale:      Private ( X )*           Public Auction ( )

3. Terms of Sale: (include purchaser, if known, price, price terms, whether
   or not sale is free and clear of liens, names and addresses of lienors,
   and all other pertinent information)

   Private sale to BRIAN WALTER RANALLO and MARY CYNTHIA
   RANALLO of property identified above for a total of $892.00 payable at
   the rate of $74.34 per month for twelve (12) consecutive months with the
   first payment due on October 15, 2018. Payment shall be made to Mary
   W. Colón, Trustee, P. O. Box 14596, Tallahassee, FL 32317. This sale
   is “as is”, “where is” with no warranties expressed or implied. The sale
   is subject to any scheduled, known or unknown liens, encumbrances,
   and exemptions; and the Purchase(s) is/are responsible for all payments
   to Lien Holders, Tax Assessors, etc.

*The purchase price(s) was/were established by review of the schedules
and any additional documents or testimony provided by parties, negotiated
in good faith, and based on the principles of best business judgment.

*(Applicable to private sales only) The trustee will entertain any higher bids
for the purchase of the assets of the debtor(s) which the trustee proposes
to sell. Such bids must be in excess of $200.00 more than the original bid
and must be in writing and accompanied by a deposit of 20% of the
proposed higher purchase price. Any higher bid must be received (with the
applicable deposit) by the trustee at the address listed below no later than
the close of business 15 days from the date of this Notice.




                                   Page 2 of 3
            Case 18-40390-KKS    Doc 35   Filed 11/14/18   Page 3 of 7



      NOTICE IS HEREBY GIVEN that all objections to the same must
state the basis for the objection. If no objection is filed, the sale described
above will take place.


DATED: November 14, 2018                    /S/ Mary W. Colón
                                            MARY W. COLÓN
                                            Chapter 7 Trustee
                                            Smith, Thompson, Shaw, et al
                                            P. O. Box 14596
                                            Tallahassee, FL 32317
                                            Telephone No.: (850) 241-0144
                                            Facsimile: (850) 702-0735
                                            Florida Bar No. 0184012
                                            trustee@marycolon.com

                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY THAT A TRUE AND CORRECT COPY OF THE
FOREGOING has been furnished by first class U.S. Mail with postage
prepaid to all persons on the Court’s mailing matrix by BK Attorney
Services, LLC d/b/a certificateofservice.com on November 14, 2018.

                                            /S/ Mary W. Colón
                                            MARY W. COLÓN




                                   Page 3 of 3
                           Case 18-40390-KKS            Doc 35      Filed 11/14/18      Page 4 of 7




                                   UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF FLORIDA
                                         TALLAHASSEE DIVISION
IN RE: RANALLO, BRIAN WALTER                                    CASE NO: 18-40390-KKS
       RANALLO, MARY CYNTHIA                                    DECLARATION OF MAILING
                                                                CERTIFICATE OF SERVICE
                                                                Chapter: 7




On 11/14/2018, I did cause a copy of the following documents, described below,
NOTICE OF INTENT TO SELL PROPERTY OF THE ESTATE




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.
Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.
DATED: 11/14/2018
                                                          /s/ MARY W. COLON
                                                          MARY W. COLON 0184012
                                                          MARY W. COLON, TRUSTEE
                                                          P O BOX 14596
                                                          TALLAHASSEE, FL 32317
                                                          850 241 0144
                                Case 18-40390-KKS               Doc 35       Filed 11/14/18         Page 5 of 7




                                        UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF FLORIDA
                                              TALLAHASSEE DIVISION
 IN RE: RANALLO, BRIAN WALTER                                           CASE NO: 18-40390-KKS
        RANALLO, MARY CYNTHIA
                                                                        CERTIFICATE OF SERVICE
                                                                        DECLARATION OF MAILING
                                                                        Chapter: 7




On 11/14/2018, a copy of the following documents, described below,

NOTICE OF INTENT TO SELL PROPERTY OF THE ESTATE




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient postage thereon
to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced document
(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is true and correct to
the best of my knowledge, information, and belief.

DATED: 11/14/2018




                                                                            Jay S. Jump
                                                                            BK Attorney Services, LLC
                                                                            d/b/a certificateofservice.com, for
                                                                            MARY W. COLON
                                                                            MARY W. COLON, TRUSTEE
                                                                            P O BOX 14596
                                                                            TALLAHASSEE, FL 32317
                          Case WERE
PARTIES DESIGNATED AS "EXCLUDE" 18-40390-KKS
                                     NOT SERVED VIA Doc
                                                    USPS 35
                                                         FIRST Filed
                                                                CLASS 11/14/18
                                                                       MAIL      Page 6 of 7
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

CASE INFO                                BK GLOBAL REAL ESTATE SERVICES           FLORIDA STATE UNIVERSITY CREDIT UNION
LABEL MATRIX FOR LOCAL NOTICING          1095 BROKEN SOUND PARKWAY SUITE 200      CO J BLAIR BOYD
11294                                    BOCA RATON FL 33487-3503                 POST OFFICE BOX 3637
CASE 18-40390-KKS                                                                 TALLAHASSEE FL 32315-3637
NORTHERN DISTRICT OF FLORIDA
TALLAHASSEE
WED NOV 14 11-52-01 EST 2018



KELLER WILLIAMS TOWN AND COUNTRY         NATIONSTAR MORTGAGE LLC DBA MR COOPER    NATIONSTAR MORTGAGE LLC DBA MR COOPER
REALTY INC                               ROBERTSON ANSCHUTZ AND SCHNEID PL        CO ROBERTSON ANSCHUTZ AND SCHNEID
ATTN SARAH GRANGER HENNING AGENT         6409 CONGRESS AVENUE SUITE 100           6409 CONGRESS AVENUE
1520 KILLEARN CENTER BOULEVARD           BOCA RATON FL 33487-2853                 SUITE 100
SUITE 100                                                                         BOCA RATON FL 33487-2853
TALLAHASSEE FL 32309-3700




PRA RECEIVABLES MANAGEMENT LLC           SMITH THOMPSON SHAW MINACCI AND COLON    AMERICAN EXPRESS
PO BOX 41021                             PA                                       ATTN BANKRUPTCY LITIGATION OFFICER
NORFOLK VA 23541-1021                    3520 THOMASVILLE ROAD                    PO BOX 981535
                                         FOURTH FLOOR                             EL PASO TX 79998-1535
                                         TALLAHASSEE FL 32309-3478




ATTORNEY GENERAL OF THE UNITED STATES    CAPITAL CITY BANK                        CAPITAL ONE
950 PENNSYLVANIA AVE NW                  ATTN BANKRUPTCY LITIGATION OFFICER       ATTN BANKRUPTCY LITIGATION OFFICER
WASHINGTON DC 20530-0009                 PO BOX 900                               PO BOX 30285
                                         TALLAHASSEE FL 32302-0900                SALT LAKE CITY UT 84130-0285




CAPITAL ONE BANK USA NA                  CHASEJP MORGAN CHASE                     CITIBANK NA
PO BOX 71083                             ATTN BANKRUPTCY LITIGATION OFFICER       ATTN BANKRUPTCY LITIGATION OFFICER
CHARLOTTE NC 28272-1083                  PO BOX 15298                             701 E 60TH STREET NORTH
                                         WILMINGTON DE 19850-5298                 MAIL CODE 1251
                                                                                  SIOUX FALLS SD 57104-0432




CITIBANK NA                              CITIBANK NA                              CITIBANK NA
ATTN BANKRUPTCY LITIGATION OFFICER       ATTN BANKRUPTCY LITIGATION OFFICER       ATTN BANKRUPTCY LITIGATION OFFICER
PO BOX 6062                              PO BOX 6500                              PO BOX 790046
SIOUX FALLS SD 57117-6062                SIOUX FALLS SD 57117-6500                SAINT LOUIS MO 63179-0046




DORIS MALOY LEON COUNTY TAX COLLECTOR    FSU CREDIT UNION                         FIRST COMMERCE CREDIT UNION
ATTN TAX ADMINISTRATION DEPARTMENT       ATTN BANKRUPTCY LITIGATION OFFICER       ATTN BANKRUPTCY LITIGATION OFFICER
POST OFFICE BOX 1835                     2806 SHARER RD                           PO BOX 6416
TALLAHASSEE FL 32302-1835                TALLAHASSEE FL 32312-2100                TALLAHASSEE FL 32314-6416




FREEDOM MORTGAGE                         GREAT LAKES                              INTERNAL REVENUE SERVICE
ATTN BANKRUPTCY DEPARTMENT               ATTN BANKRUPTCY LITIGATION OFFICER       CENTRALIZED INSOLVENCY OPERATIONS
PO BOX 619063                            PO BOX 7860                              PO BOX 7346
DALLAS TX 75261-9063                     MADISON WI 53707-7860                    PHILADELPHIA PA 19101-7346




MR COOPER                                REGIONS BANK                             SYNCHRONY BANK
ATTN BANKRUPTCY DEPARTMENT               ATTN BANKRUPTCY LITIGATION OFFICER       ATTN BANKRUPTCY DEPARTMENT
8950 CYPRESS WATERS BLVD                 PO BANK 1984                             PO BOX 965061
COPPELL TX 75019-4620                    BIRMINGHAM AL 35201-1984                 ORLANDO FL 32896-5061
                          Case WERE
PARTIES DESIGNATED AS "EXCLUDE" 18-40390-KKS
                                     NOT SERVED VIA Doc
                                                    USPS 35
                                                         FIRST Filed
                                                                CLASS 11/14/18
                                                                       MAIL      Page 7 of 7
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

SYNCHRONY BANK                           US BANK NA DBA ELAN FINANCIAL SERVICES   UNITED STATES ATTORNEY
CO PRA RECEIVABLES MANAGEMENT LLC        BANKRUPTCY DEPARTMENT                    21 EAST GARDEN STREET
PO BOX 41021                             PO BOX 108                               PENSACOLA FL 32502-5676
NORFOLK VA 23541-1021                    ST LOUIS MO 63166-0108




UNITED STATES TRUSTEE                    WELLS FARGO BANK NA                      ALLEN TURNAGE
110 E PARK AVENUE                        WELLS FARGO HOME MORTGAGE                ALLEN TURNAGE PA
SUITE 128                                ATTN- BANKRUPTCY LITIGATION OFFICER      PO BOX 15219
TALLAHASSEE FL 32301-7728                PO BOX 10335                             2344 CENTERVILLE ROAD SUITE 101
                                         DES MOINES IA 50306-0335                 TALLAHASSEE FL 32308-4389




DEBTOR                                   MARY CYNTHIA RANALLO                     MARY W COLON
BRIAN WALTER RANALLO                     3513 KILKENNY DRIVE EAST                 PO BOX 14596
3513 KILKENNY DRIVE EAST                 TALLAHASSEE FL 32309-3110                TALLAHASSEE FL 32317-4596
TALLAHASSEE FL 32309-3110
